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                      Exhibit 1
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         B   O    I E S,         S   C   H I L L E R             &    F L E X N E R                 L L P
40 1 EAST LAS OLAS BOULEVARD• SUITE • 200 • FORT LAUDERDALE, FL 33301     22   • PH . 954 .356 .00 1 • FA X 954 .356 .0022




                                                                              Meredith L. Schultz, Esq.
                                                                          E-mail: mschultz@bsfllp.com

                                                 June 30, 2016

        VIA E-MAIL

        Laura A. Menninger, Esq.
        HADDON, MORGAN AND FOREMAN, P.C.
        150 East 10th Avenue
        Denver, Colorado 80203
        lmenninger@hmtlaw.com

                 Re:   Guiffre v. Maxwell
                       Case No. 15-cv-07433-RWS
        Dear Laura,

                I write pursuant to this Court' s June 20, 2016, Order regarding search and production
        from Defendant's electronic media. Accordingly, please use IMAP Capable software (or a
        functional equivalent) to capture all of the sent/received emails from Ms. Maxwell's various
        email accounts, including but not limited to the following: (1) GMaxl @ellmax.com (and any
        other accounts at ellmax.com); (2) gmax I (@mindspring.com (and any other accounts at
        mindspring.com); (3) any of Ms. Maxwell's email account associated with The Terramar Project
        (including any account ending in@theterramarproject.org); and (4) any other email accounts
        either used in the past, or currently in use.

                Additionally, please use FileSeek software (or a functional equivalent) to retrieve any
        data, including electronic documents (such as Word documents; PDFs; Excel sheets; etc.), from
        Ms. Maxwell's devices, including personal computers, work computers, any tablets, and any
        phones. This includes any cloud storage accounts. Please confirm that you have imaged Ms.
        Maxwell's hard drives and other devices.

                Once you have gathered that data onto a platform (such as Summation or its functional
        equivalent), please run the below search terms. Since the Court ordered us to negotiate the search
        terms, please let me know if you think additional terms would be appropriate or whether you
        object to any terms, and your basis thereof.

               When applying the search terms, the search terms need to "hit" on documents even if the
        terms are embedded within other words. So, for example, the term "acuity" would yield a hit on
        the document, even if the word in the document is "acuityreputatoin." To return a hit on those




                                                  WWW .BSFLLP .COM
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embedded terms, I request that you use "wildcards" to ensure that embedded terms are located.
(Wildcard characters are used to expand word searches into pattern searches by "replacing"
single or multiple characters.) Where there are a specific number of characters needed to be
included, a single wildcard will achieve that purpose. For example, in some programs, ! is used
for single character wildcards, and * is used for multiple character wildcards. For instance:

        (a) Single character wildcard example: a search for L!n! will return "long," "link,"
            "lane," "lone," etc.
        (b) Multiple character wildcard example: a search for chil* will return "children,"
            "chill," "chilling," etc.
        (c) Mixed use ofwildcards: a search for L!n* will return "lines," "lining," "linty," etc.

        Accordingly, the below search terms are submitted with wildcard characters to be applied
in the manner of the examples above. Please apply them as such with whatever characters is
required by the software/platform that you will be using.

        Similarly, regarding how the terms are combined (AND or OR). OR should expand your
results while AND will restrict result to only those which include all the terms.

       Additionally, I want to clarify that I would like all of the metadata to be searched in
addition to the text of the documents. For example, if the search term is "acuity," "hits" should
include all the document that include the word "acuity" in their text OR in their metadata (this
includes words in items such as email subjects, filenames, as well as any documents which
include that word somewhere within their text).

        I also wanted to point out another special syntax with regard to proximity searching. This
is a search that finds words within a specified distance from one another. On some software, this
is represented as w/#, so a search for "meet w/2 greet" will return "meet and greet," "greet and
meet" and "meet and nicely greet." Please apply accordingly.

      Additionally, for searches for people's initials in the search terms, please use "exact
matches," "stand alone," or "literal" terms (see, e.g., PA, AD, JE, GM).

       Finally, the search terms are not to be treated as case-sensitive, meaning that the terms
should be searched according to their letters, regardless of whether they are represented in the list
as containing upper case or lower case letters.

       The following are the applicable search terms.

1)     jefl'
2)     geofl'

                                                 2
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3)     epst! !n*
4)     jeevacation*
5)     j* w/2 *jep*
6)     j* w/2 *jeep*
7)     roberts*
8)     g!!ff!!*
9)     virginia*
10)    jenna*
11)    jena*
12)    genna*
13)    andrew*
14)    prince*
15)    royal*
16)    PA
17)    JE
18)    GM
19)
20)
21)
22)
23)
      -AD
      Jane Doe 2


       GX
       massage*
       masseur*
24)    therapist*
25)    ellmax*
26)    mindspring*
27)    gmax*
28)    emmy*
29)    taylor*
30)    sara*
31)    kellen*
32)    kensington *
33)    vikers*
34)    dubin*
35)    eva*
36)    glen*
37)    brunel*
38)    jean*
39)    luc*
40)    nadia*
                                        3
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41)   marcinko*
42)   *copter*
43)   chopper*
44)   pilot*
45)   manifest*
46)   log*
47)   flight*
48)   passport*
49)   terramar*
50)   southern* w/3 district*
51)   palm* w/3 beach*
52)   state* /3 attorney*
53)   ross*
54)   gow*
55)   acuity*
56)   victoria* w/3 secret*
57)   al!n*
58)   all!n*
59)   dersh*
60)   law.harvard.edu *
61)   alandersh*
62)
63)
64)   new* w/3 mexico*
65)   NM
66)   virgin* w/3 island*
67)   usvi*
68)   little* w/3 st*
69)   little* w/3 saint*
70)   st* w/3 j*
71)   saint* w/3 j*
72)   lsj*
73)   Iago*
74)   clinton*
75)   BC
76)   HC
77)   HRC
78)   police*
                                     4
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79)    cop*
80)    fbi*
81)    federal* w/3 bur*
82)    bur* w/8 inves! *
83)     sex*
84)    abuse*
85)    toy*
86)    dildo*
87)    strap* w/3 on*
88)    vibr*
89)    sm* w/3 101 *
90)    slave*
91)    erotic*
92)    servitude*
93)    abernathy*
94)    brillo*
95)    high* w/3 school*
96)    secondary* w/3 school*
97)    campus*
98)    duke*
99)    york*
100)   licen!e*
101)   assault*
102)   juvenile*
103)   seal*
104)   joint* w/3 defen*
105)   jda
106)   roadhouse*
107)   grill*
108)   illegal*
109)   immune*
110)   prosecut*
111)   law* w/3 enforc*
112)   jane* w/3 *doe*
113)   hospital*
114)   hotel*
115)   suite*
116)   villa*
                                       5
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117) model*
118) actress*
119) france*
120) paris*
121) zoro*
122) ranch*
123) vanity* w/ 3 fair*
124) alexander*
125) kathy*
126) miles*
127) james*
128) austrich*
129) phil*
130) barden*
131) -Jane Doe 2
132) fary*
133) boothe*
134) laura*
135) evelyn*
136) boulet*
137) boylan*
138) bee*
139) bunner*
140) casey*
141) carolyn*
142) carolin*
143) paul*
144) cassell*
145) sharon*
146) churcher*
147) cousteau*
148) alexandar*
149) devansan*
150) Jane Doe 2
151)
152) edwards*
153) amanda*
154) ellison*
                                      6
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155) cimberly*
156) espinosa*
157) Tatiana*
158) farmer*
159) maria*
160) nn*
161) fekkai*
162) crystal*
163) figueroa*
164) anthony*
165) tony*
166) freeh*
167) louis*
168) dare*
169) gany*
170) garvin*
171) meg*
172) sheridan*
173) gibson*
174) but!e*
175) graff*
176) fred*
177) phil*
178) guderyon*
179) Jane Doe 2
180)
181) harrison*
182) shannon*
183) victoria*
184) hazel*
185) brittany*
186) henderson*
187) jaffe*
188) carol*
189) kess*
190) kutikoff*
191) pete*
192) listerman*
                                      7
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193) lyons*
194) bob*
195) meister*
196) jamie*
197) melanson*
198) lyn! * w/100 miller*
199)
200)
201) Jane Doe 2
202)
203) vanessa*
204) mullen*
205) pagano*
206) mary*
207) paluga*
208) stan*
209) pottinger*
210) recarey*
211) reiter*
212) richards*
213) sky*
214) rothstein*
215) forest*
216) sawyer*
217) doug*
218) schoetlle*
219) cecelia*
220) stein*
221) mark*
222) tafoya*
223) brent*
224) tindall*
225) kevin*
226) kim*
227) thompson*
228) tuttle*
229) vaghan*
230) cresenda*
                                      8
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231)   valdes*
232)   valla*
233)   martiza*
234)   vazquez*
235)   vick*
236)   ard*
237)   jarr!d*
238)   weisfeld*
239)   courtn!y* w/5 wild*
240)   alessi*
241)   rizzo*
242)   rinaldo*
243)   biddle*
244)   sophie*
245)   sofie*
246)   degeo*



--
247)

249)
250)
251)
       anouska*

       fontanilla *
       lynn*
       jo* w/3 jo*
252)   gramza*
253)   grant*
254)   waitt*
255)   ted*



--- --
256)   theod*



       1111

-- -
260)   kovylina*




 --
263)

265)
266)
267)
       lang*

       listerman*
       lopez*
       cindy*
268)   lutz*
                                      9
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269)   mellawa*
270)   brah*
271)
272)
273)
274)
275)
       --
       jay*
       Jane Doe 2
       Jane Doe 2

       mitrovich*
       andrea*
276)   peadon*
277)   bill*
278)   francis*
279)   preece*
280)   dara*
281)   louella*
282)   rabuyo*
283)   robson*
284)   haley*
285)   adriana*
286)   mucinska*
287)   spamm*
288)   visosky*
289)   doug* OR dan* w/100 wilson*
290)   igor*
291)   zinoview*
292)   allyson*
293)   alyson*
294)   alison*
295)   allison*
296)   chambers*
297)   Gwendolyn*
298)   beck*
299)   Kelly*
300)   Kelley*
301)   Bovina*
302)   ron*
303)   burkle*
304)   max*
305)   cordero*
306)   vald*
                                      10
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307)   cotrin*
308)   chauntae*
309)   dav*
310)   teala*
311)   ry!n*
312)   dionne*
313)   anders!n*
314)   Rosalie*
315)   fr!!dman*
316)   tiffany*
317)   Kathryn*
318)   eric*
319)   erik*
320)   Lesl*
321)   groff*



-- --
322)   clair*



325) gina*
326) ignatieva*
327) bret*
328) adam*
329) perry*
330) liffman*
331) Michael*
332) mike*
333) cheri*
334) lynch*
335) todd*
336) Jane Doe 2
337)
338) Joanna*
339) sjoberg*
340) leslie*
341) wexner*
342) underage*
343) under!age*
344) minor*
                                      11
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345)   daily* w/10 mail*
346)   daily* w/10 news*
347)   lie*
348)   obvious* w/10 lie*
349)   sex w/3 toy*
350)   nipple*
351)   schoolgirl
352)   school w/3 girl
353)   us w/3 att*
354)   United w/3 states w/3 att*
355)   Guggenheim
356)   Pedophil*
357)   Paedophil*
358)   Gerbil*
359)   Traffic*
360)   Bed*
361)   Bath*
362)   Masturbate*
363)   Ejaculate*
364)   Masseuse*
365)   Lingerie
366)   Boies*
367)   Mccawley*
368)   Schultz*




                                    Meredith L. Schultz

MLS:dk




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